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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


SMARTMATIC         USA      CORP.,
SMARTMATIC          INTERNATIONAL
HOLDING B.V., and SGO CORPORATION                                Case No. 23-2200
LIMITED,                                             [D. Minn. Case No. 22-cv-0098-WMW-JFD]

                         Plaintiffs,
                                                       DEFENDANTS’ MEMORANDUM IN
                    v.                                 SUPPORT OF MOTION TO COMPEL
                                                        COMPLIANCE WITH DEPOSITION
MICHAEL J. LINDELL and MY PILLOW,                      SUBPOENA TO CARLOTTA WELLS
INC.,

                         Defendants.


         Michael Lindell and My Pillow, Inc. (together, “Defendants”) move the Court to order

Carlotta Wells to appear for a deposition, in compliance with a subpoena issued by the

Defendants in this action. The Government has asserted objections to the subpoena based on the

doctrine of Touhy v. Ragen, 340 U.S. 462 (1951). However, the testimony sought by the

subpoena is important to Defendants’ defenses in this action, and Touhy is not appropriately

applied under these circumstances.1

    I.      Facts

         Plaintiffs (collectively, “Smartmatic”) sell technology and software used to administer

elections. First Supp. Compl. ¶ 10 (Decl. of Andrew D. Parker ¶ 30 & Ex. Q) (“Complaint”).

Smartmatic has asserted defamation claims against Defendants based on statements made by

Lindell about the 2020 presidential election. Id. ¶ 367. According to the Complaint, Lindell

stated that Smartmatic’s election technology and software was compromised or hacked by

foreign actors during the 2020 presidential election. Id.
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  Defendants will soon file a similar motion to compel deposition testimony of John Negroponte,
in the same underlying action.
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         Lindell’s statements about the 2020 election being hacked were based in part on

information Lindell received about the work of Dennis L. Montgomery. Decl. of Michael Lindell

¶ 2; see Compl. ¶ 309 (allegations concerning “Hammer” and “Scorecard”). Lindell received

information from other people, and then directly from Montgomery, that many years ago

Montgomery had provided computer programming services to the United States government,

when Montgomery worked for two companies that contracted with the United States

government. Lindell Decl. ¶¶ 2-3. Montgomery was a co-owner of one of these companies. Id.

¶ 2. Lindell heard that at these companies Montgomery had developed and used computer

software that allowed the federal government to monitor internet communications and to

manipulate computerized voting machines used in foreign countries. Id. Lindell heard that

Montgomery’s election-manipulating software was obtained by persons in China, and that

Montgomery obtained copies of internet transmissions showing the software was used by

persons in China to change votes in the 2020 presidential election. Id. Montgomery’s history of

working for the United States government was one of the reasons Lindell believed the

information he heard about Montgomery. Id. ¶ 4.

         Information concerning Montgomery’s past and his work for the federal government is

important to Lindell’s defenses in this action, because Montgomery’s past and work for the

federal government provided Lindell with substantial reason to believe the information he

received about and from Montgomery, and because information about Montgomery’s past and

work for the federal government tends to support the statements Lindell made. The testimony of

Carlotta Wells is an important part of that evidence because Ms. Wells has been closely

connected with Montgomery’s work for the federal government going back at least seventeen

years.



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       In 2006, a dispute arose between Montgomery and a business partner concerning the

business they co-owned, eTreppid Technologies, Inc. See Parker Decl. ¶ 2 & Ex. A (Complaint

of Dennis Montgomery). Two lawsuits resulted: eTreppid Technologies, LLC v. Montgomery and

Montgomery v. eTreppid Technologies, Inc. (together, the “eTreppid Litigation”).2 The United

States government sought and obtained entry of a protective order in the eTreppid Litigation

based on its assertion of the state secrets privilege. See Parker Decl. ¶ 3 & Ex. B (Motion);

Parker Decl. ¶ 4 & Ex. C (Order); Parker Decl. ¶ 5 & Ex. D (Protective Order).

       The attorney who signed the United States government’s motion seeking the protective

order in the eTreppid Litigation was Carlotta Wells. Parker Decl. Ex. B at 16. The motion signed

by Ms. Wells stated, “Montgomery signed a Classified Information Nondisclosure Agreement

(Nondisclosure Agreement), which was executed with the Defense Security Service, an agency

within the [Department of Defense.” Id. at 6. The motion acknowledged that Montgomery had

brought a claim against the Department of Defense, alleging that he was “prevented from fully

disclosing the information he needs to present his case because he signed a ‘secrecy contract’

with the United States government relating to the nature of the work that he performed on behalf

of the government while associated with eTreppid.” Id. at 5. The motion asked the Nevada court

to enter a protective order because “the United States has properly asserted the military and state

secrets privilege in these cases,” and “the information to be protected from disclosure includes

information concerning the existence or non-existence of any actual or proposed relationship

involving any U.S. intelligence agency and any individuals and/or companies associated with

these lawsuits and any actual or proposed interest in, application of, discussion of, or use by an

intelligence agency of any technology owned or claims by individuals and/or companies


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 These are no. CV-N-06-00145 and no. CV-N-00056 in the U.S. District Court for the District
of Nevada.
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associated with these lawsuits.” Id. at 12-13. On August 29, 2007, the Nevada District Court

entered the protective order (“Nevada Protective Order”) sought by Wells, stating that the court

had reviewed “in camera” a “Classified Declaration” from the Director of National Intelligence,

and that information from the filings in the eTreppid Litigation was redacted on the basis of the

state secrets privilege. Parker Decl. Ex. D at 2.

       Following the entry of the Nevada Protective Order, Wells engaged in numerous

interactions with Dennis Montgomery. On June 24, 2008, Wells appeared at a hearing in which

Montgomery was testifying, and asked the court to prevent Montgomery from answering a

question on the basis of the Nevada Protective Order. Parker Decl. ¶ 6 & Ex. E at 106:14-24 (Tr.

of Hearing). At the same hearing, Wells obtained permission from the court to remove pages

from certain exhibits used at the hearing to have them redacted. Id. 214:13-216:20, 235:6-10. At

a prior hearing, Wells told the court that she had attempted to arrange a meeting with

Montgomery on two occasions to review the terms of the Nevada Protective Order. Parker Decl.

¶ 7 & Ex. F at 163:9-164:1, 167:11-168:8 (Tr. of Hearing). At a follow-up hearing, Wells

prevented Montgomery from answering questions on the basis of the Nevada Protective Order.

Parker Decl. ¶ 8 & Ex. G at 179:3-180:25 (Tr. of Hearing).

       Montgomery has testified by declaration that on March 4, 2010, federal law enforcement

officers seized documents from Montgomery’s attorneys, the Liner Law Firm. Parker Decl. ¶ 9

& Ex. H ¶¶ 25-26 & ex. 12 (Decl. of Montgomery). Montgomery’s declaration and an attached

exhibit show that Wells was involved with the Department of Justice’s review of materials taken

from Montgomery’s attorneys for “security review.” Id. at Ex. 12.

       On January 14, 2011, Montgomery gave a deposition in his bankruptcy proceeding.

Parker Decl. ¶ 10 & Ex. I at 14:21-15:3, 15:23-19:15 (Dep. Tr.). Wells appeared at the deposition



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on behalf of the federal government. Id. She was accompanied by two individuals from the

federal government whose full names she refused to provide. Id. Wells stated that her purpose in

attending the deposition was to enforce the terms of a protective order. Id. at 21:16-22:5.

         On April 27, 2015, Montgomery filed a declaration in the U.S. District Court for the

Southern District of Florida in which he described certain conversations he had with Wells, in

which Wells “told me that if I talk to the press or leaked information, I will be charged with

treason for disclosing my work with the NSA and CIA,” and said, “If the US Government wants

to leak false information to the press to hide successful work, and to confuse terrorist groups,

they will do it irrespective of my rights.” Parker Decl. ¶ 11 & Ex. J ¶¶ 70-71 (Decl. of

Montgomery).

         Defendants issued a subpoena (“Wells Subpoena”) to Carlotta Wells to provide a

deposition in this case. Decl. of Andrew Parker ¶ 12 & Ex. K. Attached to the Wells Subpoena

was a statement explaining why the Touhy factors permitted the deposition of Wells in this case.

Id. at Ex. 2. The subpoena was personally served upon Wells on March 21, 2023. Parker Decl.

Ex. L. On April 3, 2023, Defendants received responsive correspondence from the Department

of Justice refusing to allow the testimony sought by the Wells Subpoena on the basis of the

principles articulated in Touhy v. Ragen, 340 U.S. 462 (1951). Parker Decl. ¶ 13 & Ex. M.

   II.      Argument

         The information sought by the subpoena to Ms. Wells is important to the Defendants’

defenses and is reasonably capable of being provided by Ms. Wells without undue burden.

Accordingly, Ms. Wells should be compelled to provide deposition testimony in this case.

         A. Legal Standard

         Fed. R. Civ. P. 45 provides the standard governing a federal agency’s response to a

subpoena. Watts v. SEC, 482 F.3d 501, 508 (D.C. Cir. 2007) (“Rule 45’s privilege and undue

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burden standard thus applies to both document and testimonial subpoenas . . . . Moreover, an

agency’s Touhy regulations do not relieve district courts of the responsibility to analyze privilege

or undue burden assertions under Rule 45.”). See 5 U.S.C. § 301 (authorizing Touhy regulations

but providing, “This section does not authorize withholding information from the public or

limiting the availability of records to the public.”). Under Rule 45, “The burden lies on the party

resisting discovery to show that the documents requested are either unduly burdensome or

privileged.” Buzzfeed, Inc. v. United States DOJ, 318 F. Supp. 3d 347, 356 (D.D.C. 2018)

(quoting In re Micron Tech., Inc. v. Sec. Litig., 264 F.R.D. 7, 9 (D.D.C. 2010)).

         Two principles guide the Court in determining whether a subpoena would impose an

undue burden on the Government. The Court must be “generally sensitive to the costs imposed

on third parties,” Buzzfeed, 318 F. Supp. 3d at 358 (D.D.C. 2018), and the Court must consider

the factors under Fed. R. Civ. P. 26(b) including:

         (1) whether the discovery sought is ‘unreasonably cumulative or duplicative’; (2)
         whether the discovery sought ‘can be obtained from some other source that is
         more convenient, less burdensome, or less expensive’; and (3) whether the
         discovery sought is ‘proportional to the needs of the case,’ taking into account
         ‘the importance of the issues at stake in the action, the amount in controversy, the
         parties’ relative access to relevant information, the parties’ resources, the
         importance of the discovery in resolving the issues, and whether the burden or
         expense of the proposed discovery outweighs its likely benefit.’
Id.

         B. Wells Should Be Required to Provide Deposition Testimony.

         Carlotta Wells should be required to provide deposition testimony because her

knowledge concerning Dennis Montgomery’s work for the federal government is probative

concerning the reasonability of Lindell’s reliance on Montgomery’s work and concerning the

accuracy of the statements made by Montgomery concerning the 2020 election.




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        As described above, Defendants have strong basis to believe that Wells can provide

testimony concerning the following public, non-secret matters, that support Lindell’s defenses in

this action:

                  Montgomery worked on U.S. government programs that involved information

                   protected by the state secrets privilege;

                  The federal government undertook active measures to prevent Montgomery from

                   disclosing state secrets;

                  Wells was tasked with monitoring Montgomery from 2006 through at least 2011

                   to prevent Montgomery from disclosing in court proceedings certain information

                   related to his work for the federal government;

                  In 2008, Wells attended a deposition of Montgomery, bringing along two federal

                   agents whose full names and specific employer she refused to identify, in order to

                   prevent disclosure of any state secrets in Montgomery’s testimony;

                  In 2010, the federal government seized boxes of documents related to

                   Montgomery’s work for the federal government from the office of Montgomery’s

                   attorney, and Wells reviewed those documents for state secrets, removing some

                   documents to prevent disclosure of their contents;

                  Wells engaged in discussions with Montgomery on multiple occasions concerning

                   the scope of the state secrets privilege and what information Montgomery was

                   permitted to disclose or prohibited from disclosing;

                  Wells engaged in discussions with Montgomery in which she threatened that he

                   would suffer negative consequences if he disclosed his work for the federal

                   government;


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              The information known by Montgomery that Wells was tasked with protecting

               from at least 2006-2011 continues to be subject to the state secrets privilege

               today.

              Publicly available documents mentioning Wells accurately reflect what happened,

               or, if not, what is not accurate in those public documents.

       Critically, none of these matters are secret. They all appear in publicly available

documents. And each of these items tends to support Lindell’s reliance on information about

Montgomery’s work, when Lindell made the statements alleged to be defamatory in

Smartmatic’s Complaint. Lindell is entitled to discover information, in a form admissible at trial,

to substantiate these matters. The reasonability of Lindell’s reliance is directly related to the

questions of whether he actually believed what said, and whether it was “inherently improbable”

for him to believe this, see St. Amant v. Thompson, 390 U.S. 727, 732 (1968) (“The finder of fact

must determine whether the publication was indeed made in good faith. Professions of good faith

will be unlikely to prove persuasive, for example, where a story is fabricated by the defendant, is

the product of his imagination, or is based wholly on an unverified anonymous telephone call.

Nor will they be likely to prevail when the publisher’s allegations are so inherently improbable

that only a reckless man would have put them in circulation.”).

       Carlotta Wells is the best witness to provide the information listed above – for many of

the items, she is the only witness known to Defendants who can provide it – because these events

focus on her personal interactions with Montgomery.

       No privilege bars discovery of the information described above. Defendants do not intend

to ask Wells to disclose any information protected by the attorney-client or work product

privileges, but merely to testify concerning the facts of what happened in each instance. Nor does


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the state secrets privilege apply, because Defendants are not seeking to compel the disclosure of

any secret information, but rather to obtain testimony in admissible form confirming information

that is already in the public record.

         A deposition of Wells would not impose an undue cost or burden. Defendants have not

asked Wells to search for or produce any documents, but merely to provide testimony concerning

what she knows.

         Finally, the subpoena to Wells satisfies the Touhy regulations of the Department of

Justice, her employer. It states the information sought by Defendants and its relevance to the

claims at issue in this case, and it does not request information that is prohibited to be disclosed

by the Touhy regulations. Parker Decl. Ex. K at Ex. 2; 28 C.F.R. § 16.21 et seq.

         C. The Government’s Objections to the Wells Subpoena Are Without Merit.

         The Department of Justice’s response to the Wells Subpoena refused to permit Ms. Wells

to be deposed. Parker Decl. ¶ 13, Ex. M (“Wells Response”). The Wells Response cited four

reasons for this decision. Id. None of those reasons provide any basis to prevent the deposition of

Wells.

         Relevance and Proportionality. The Wells Response asserts that the information sought

is not relevant or proportional to the needs of this case. Id. at 2. This argument rests on the

assertion that the Wells Subpoena seeks information about a lawsuit “filed seventeen years ago

and dismissed over a decade ago.” Id. at 3. This argument is without merit for two reasons. First,

the Wells Subpoena extends beyond the eTreppid litigation to events in other cases – matters that

the Wells Response simply ignores. Second, and more importantly, the purpose of the Wells

Subpoena is not to relitigate the eTreppid litigation. Rather, the subpoena seeks to establish

certain facts concerning Montgomery’s work for the federal government, facts which Smartmatic

may argue are hearsay when presented at trial unless Defendants obtain admissible testimony to
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establish them. Those facts are relevant to the Defendants’ defenses in this case because

Defendants anticipate that a central issue will be the reasonability/plausibility/inherent

improbability of the information on which Lindell relied when making the allegedly defamatory

statements in question. Defendants are entitled to discover facts central to their arguments on that

point – even if those facts concern events from some time in the past. Further, the facts to which

Wells can testify are probative concerning the accuracy of the statements Lindell made in

reliance on information he received about Montgomery’s work.

       The discovery sought by the Wells Subpoena is proportional to the needs of this case

because only a single deposition is sought, and the stakes of the case are high. Smartmatic’s

Complaint alleges more than $2 billion in damages. Parker Decl. Ex. Q ¶ 365. Regarding

proportionality, the Department of Justice argued in the Wells Response that “Ms. Wells’ only

involvement in eTreppid was as counsel for the United States in its assertion of the states secret

privilege in that case.” Wells Response at 3. However, the government’s attempt to minimize

Ms. Well’s interactions with Mr. Montgomery is contrary to the information already in the public

record. Ms. Wells followed Mr. Montgomery through at least three days of hearings over a

period of two months in the eTreppid case in 2008, and then she appeared at a deposition of him

in an entirely different lawsuit in 2011. Parker Decl. ¶¶ 6-10 & Exs. E-I. Wells on two separate

occasions was involved in the seizure of documents from Mr. Montgomery or his attorneys for

Department of Justice review. Parker Decl. ¶ 6 & Ex. E at 214:13-216:20, 235:6-10; Parker Decl.

¶ 9 & Ex. H ¶¶ 25-26 & ex. 12. Wells engaged in discussions with Mr. Montgomery outside the

context of the eTreppid litigation. See Parker Decl. ¶ 11 & Ex. J ¶¶ 70-71.

       The topics identified in the Wells Subpoena extend beyond the eTreppid case. The point

that Montgomery possessed information important enough for the Department of Justice to



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dispatch Wells to shadow his court appearances over a period of many years, and to review many

boxes of documents seized from the offices of Montgomery’s attorneys, is an important one for

which Defendants are entitled to establish the factual basis.

       Information Protected from Disclosure. The Wells Response secondly asserts that the

information sought by the Wells Subpoena is protected by the Protective Order in the eTreppid

case. Wells Response at 3. This assertion is simply incorrect. None of the topics described above

delve into the issues covered by the eTreppid Protective Order. The topics have been crafted to

focus on establishing the factual basis for information that is already suggested in the public

record. Furthermore, the Government is simply incorrect in its attempt to apply the eTreppid

Protective Order in this case – by the Government’s own admission.

       Defendant Michael Lindell sought to intervene in the eTreppid case in the District of

Nevada to obtain relief from the very same Protective Order cited by the Government. See Parker

Decl. ¶ 27 & Ex. N. The Government opposed Lindell’s motion to intervene. Parker Decl. ¶ 28

& Ex. O. The Government told the Nevada court that the Protective Order should not be lifted

because the order “does not apply to any litigation but the above-captioned cases in which

it was entered.” Id. at 1 (emphasis added). Not to be misunderstood, the Government stated

unequivocally, “The point is simply that the Protective Order entered in this case from which

Lindell seeks relief has no relevant effect on the defamation litigation or his ability to

obtain or use any information he needs therein.” Id. at 7. On May 15, 2023, the Magistrate

Judge in eTreppid issued a Report & Recommendation concluding that Lindell’s motion to

intervene should be denied because “the protective order does not apply to any other litigation.

Therefore, it is not the protective order entered in this case that would preclude Lindell from




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introducing the information he seeks to utilize in his defense in the defamation action.” Parker

Decl. ¶ 29 & Ex. P.

       Having (successfully) told one federal court that the Protective Order does not bar Lindell

from obtaining discovery in this defamation action, the Government cannot now reasonably be

heard to argue to a different federal court that the very same Protective Order bars Ms. Wells

from providing deposition testimony in this defamation action. The Protective Order in eTreppid

presents no obstacle to the deposition testimony sought by the Wells Subpoena.

       No Personal Knowledge/More Convenient Source. The Wells Response thirdly asserts

that the Wells Subpoena seeks information that Wells does not know or for which there is a more

convenient source. Wells Response at 4. It is clear from the documents attached to the Wells

Subpoena that Wells knows a large amount of information sought by the subpoena. She can

testify concerning the hearing, deposition, and email, and her involvement in the events

surrounding them. If there are narrow areas about which Wells lacks knowledge, she can simply

testify at her deposition that she does not know the answers to those particular questions.

       On the issue of allegedly “more convenient sources,” there is simply no better witness to

ask about Wells’s own actions than Wells herself. The Department of Justice points to

Montgomery as a source, but Montgomery is not a better source concerning Wells’s own actions.

The Department of Justice’s misdirecting allusion to matters not covered by the Wells Subpoena

(e.g. “computer source code, software, programs, or technical specifications . . .” Wells

Response at 4) is merely an attempt to obscure the reality that the Wells Subpoena is directed

toward information for which the best source is Wells. The argument that Wells should not be

required to testify concerning what she knows, because other information not sought by the

Wells Subpoena could be obtained from a different source, is a non sequitur.



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       Privileged Information.       Finally, the Department of Justice asserts that the Wells

Subpoena seeks privileged information. Wells Response at 5. The Department admits that the

Wells Subpoena states that Defendants do not intend to ask Wells to disclose privileged

information. Id. at 5. The privilege issue is discussed above. The issues about which Defendants

intend to ask Wells do not fall within gray areas where privilege may or may not apply. Her

public actions and statements, and communications with Montgomery, are not privileged, and it

is not appropriate for DOJ to attempt to conceal plainly non-privileged information by pointing

to the existence of quite separate privileged matters.

       The D.C. Circuit has explained that “an agency’s Touhy regulations do not relieve district

courts of the responsibility to analyze privilege or undue burden assertions under Rule 45.”

Watts, 482 F.3d at 508. The purpose of Touhy regulations is “internal housekeeping and

determining who within the agency must decide how to respond to a federal court subpoena.” Id.

at 508-509; see id. at 509 (“[T]hough an agency regulation may provide the method by which an

agency head will comply with or oppose a subpoena, the legal basis for any opposition to the

subpoena must derive from an independent source of law such as a governmental privilege or the

rules of evidence or procedure.”) (quoting 9 JAMES WM. MOORE ET AL., MOORE’S

FEDERAL PRACTICE § 45.05[1][b] (3d ed. 2006)).

       Under Rule 45, “The burden lies on the party resisting discovery to show that the

documents requested are either unduly burdensome or privileged.” Buzzfeed, Inc., 318 F. Supp.

3d at 356 (D.D.C. 2018) (quoting In re Micron Tech., 264 F.R.D. at 9) (internal quotations

removed). The testimony Defendants seek from Wells is not privileged. Nor is it unduly

burdensome, for it does not seek information cumulative of testimony already obtained, and

cannot be sought from a more convenient, less burdensome, or less expensive source. A single



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deposition, without any associated production of documents, is proportional to the needs of the

Defendants to establish the facts concerning Montgomery, upon whom Lindell heavily relied in

making the defamatory statements at issue. This point has great importance to the Defendants’

defense, the amount in controversy in this case is large, there is no other good source concerning

Wells’s actions other than Wells herself, and the burden of this important discovery is minimal

compared with its benefit. Wells needs to provide a deposition.

   III.      Conclusion

          Defendants’ subpoena to Carlotta Wells is appropriate and enforceable. The Court should

order Ms. Wells promptly to provide the deposition testimony sought by Defendants in this case.

DATED: July 28, 2023                          PARKER DANIELS KIBORT LLC


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